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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

         SUMMARY OF FIRST INTERIM APPLICATION OF MORRIS JAMES LLP,
         AS DELAWARE COUNSEL TO THE OFFICIAL COMMITTEE OF EQUITY
           SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION AND
              REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                 SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023


    Name of Applicant                                  Morris James LLP

    Authorized to provide professional                 Official Committee of Equity Security Holders
    services to:                                       Lordstown Motors Corp., et al.

    Date of retention order:                           October 16, 2023 nunc pro tunc to September 7, 2023

    Period for which compensation and
    reimbursement sought:                              September 7, 2023 through December 31, 2023

    Compensation sought as actual,
    reasonable, and necessary:                         $271,950.50

    Expense reimbursement sought as actual,
    reasonable, and necessary:                         $4,454.51

    This is a(n):              monthly             X       interim              final




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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     Previous Applications:

Monthly Fee        Period Covered       Total Fees      Total   CNO Filing        Amount of     Amount of
Application                             Requested     Expenses   Date &              Fees        Expenses
Filing Date                                           Requested Docket No.        Authorized    Authorized
 & Docket                                                                         to be Paid    to be Paid
    No.
 11/6/2023        September 7, 2023 –                               11/28/2023
                                        $271,950.50   $4,454.51                   $83,133.20    $4,454.51
 [D.I. 670]       September 30, 2023                                 [D.I. 751]
 12/7/2023         October 1, 2023 –                                12/28/2023
                                        $85,234.50    $1,256.25                   $68,187.60    $1,256.25
 [D.I. 792]        October 31, 2023                                  [D.I. 876]
12/22/2023        November 1, 2023 –                                1/12/2024
                                        $55,122.50        $80.94                  $44,098.00      $80.94
 [D.I. 864]       November 30, 2023                                 [D.I. 911]
 2/14/2024        December 1, 2023 –
                                        $27,677.00        $836.78                  pending       pending
 [D.I. 980]       December 31, 2023
TOTALS                                  $271,950.50   $4,454.51                   $195,418.80   $1,443.76




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: March 14, 2024 at 3:00 p.m. (ET)

       FIRST INTERIM APPLICATION OF MORRIS JAMES LLP, AS DELAWARE
    COUNSEL TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS,
    FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
     FOR THE PERIOD FROM SEPTEMBER 7, 2023 THROUGH DECEMBER 31, 2023

         Morris James LLP (“Morris James”), Delaware Counsel to the Official Committee of

Equity Security Holders (the “Equity Committee”) of Lordstown Motors Corp., the above-

captioned debtors (the “Debtors”), hereby submits its First Interim Application of Morris James

LLP, as Delaware Counsel to the Official Committee of Equity Security Holders, for Allowance of

Compensation and Reimbursement of Expenses for the Period from September 7, 2023 through

December 31, 2023 (the “Application”) for entry of an order pursuant to section 331 of title 11 of

the United States Code, 11 U.S.C. §§101 et seq, as amended (the “Bankruptcy Code”) for

allowance of compensation in the amount of $271,950.50 and reimbursement of expenses in the

amount of $4,454.51 for the period September 7, 2023 through December 31, 2023 (the

“Interim Compensation Period”), in support thereof, Morris James respectfully represents as

follows:




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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                               JURISDICTION AND VENUE

         1.   This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

         2.   Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.

         3.   The statutory predicate for the relief sought herein is section 330 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-2.

                                       BACKGROUND

         4.   On June 27, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively the “Chapter 11 Cases”). The Chapter

11 Cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b).

         5.   The Debtors have continued in the possession of its property and has continued to

operate and manage its business as Debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

         6.   On July 13, 2023, the Debtor filed the Debtors’ Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for

Chapter 11 Professionals and Committee Members (the “Interim Compensation Motion”) [Docket

No. 111], and on July 25, 2023, the Court entered an Order approving the Interim Compensation

Motion (the “Interim Compensation Order”) [Docket No. 181].

         7.   On September 7, 2023, the United States Trustee for the District of Delaware (the

“United States Trustee”) filed its notice of appointment of the three (3) member Equity Committee




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pursuant to section 1102(a)(1) of the Bankruptcy Code.2 On or about June 16, 2023, the Equity

Committee selected Brown Rudnick LLP (“Brown Rudnick”) as its lead counsel, and soon

thereafter Morris James was selected to serve as Delaware counsel to the Equity Committee.

         8.      On September 27, 2023, the Equity Committee filed the Application for Entry of

an Order Authorizing the Retention and Employment of Morris James LLP as Delaware Counsel

to the Official Committee of Equity Security Holders Nunc Pro Tunc to September 7, 2023 (the

“Retention Application”) [Docket No. 478]. On October 16, 2023, the Court entered an order

approving the Retention Application, Nunc Pro Tunc to September 7, 2023 [Docket No. 560].

                          SERVICES PROVIDED BY MORRIS JAMES

         9.      Since its retention, Morris James, in its capacity as Delaware Counsel to the Equity

Committee, undertook, the following:

                 •   Provided legal advice and assistance to the Equity Committee in its
                     consultation with the Debtors relative to the Debtors’ administration of
                     its reorganization and the Chapter 11 Cases;

                 •   Reviewed and analyzed all applications, motions, orders, statements of
                     operations, and schedules filed with the Court by the Debtors or third
                     parties, advised the Equity Committee as to their propriety, and after
                     consultation with the Equity Committee, took appropriate action;

                 •   Prepared necessary applications, motions, responses, answers, orders,
                     reports, and other legal papers on behalf of the Equity Committee;

                 •   Represented the Equity Committee at hearings held before the Court and
                     communicate with the Equity Committee regarding the issues raised, as
                     well as the decisions of the Court; and

                 •   Performed such other legal services to the Equity Committee in
                     connection with the prosecution of the Chapter 11 Cases as are
                     necessary and appropriate.




2
 The Equity Committee members are the following: (1) Crestline Management, L.P.; (2) Pertento Partners LLP; and
(3) Esopus Creek Value Series Fund LP – Series “A”.

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                                MONTHLY APPLICATIONS

         10.     On November 6, 2023, Morris James filed its first monthly application for

compensation and reimbursement of expenses [Docket No. 670] (the “First Monthly

Application”). By the First Monthly Application, Morris James sought approval of compensation

of $103,916.50 and reimbursement of expenses in the amount of $2,280.54 for the period

September 7, 2023 through December 31, 2023. On November 28, 2023, Morris James filed a

certificate of no objection regarding the First Monthly Fee Application [Docket No. 751].

         11.     On December 7, 2023, Morris James filed its second monthly application for

compensation and reimbursement of expenses [Docket No. 792] (the “Second Monthly

Application”).     By the Second Monthly Application, Morris James sought approval of

compensation of $85,234.50 and reimbursement of expenses in the amount of $1,256.25 for the

period October 1, 2023 through October 31, 2023. On December 28, 2023, Morris James filed a

certificate of no objection regarding the Second Monthly Fee Application [Docket No. 876].

         12.     On December 22, 2023, Morris James filed its third monthly application for

compensation and reimbursement of expenses [Docket No. 864] (the “Third Monthly

Application”). By the Third Monthly Application, Morris James sought approval of compensation

of $55,122.50 and reimbursement of expenses in the amount of $80.94 for the period November

1, 2023 through November 30, 2023. On January 12, 2024, Morris James filed a certificate of no

objection regarding the Third Monthly Fee Application [Docket No. 911].

         13.     On February 14, 2024, Morris James filed its fourth monthly application for

compensation and reimbursement of expenses [Docket No. 980] (the “Fourth Monthly

Application”).     By the Fourth Monthly Application, Morris James sought approval of

compensation of $27,677.00 and reimbursement of expenses in the amount of $836.78 for the



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period December 1, 2023 through December 31, 2023. The deadline to object to the Fourth

Monthly Application is March 5, 2024 at 4:00 p.m. (ET).

         14.   The total sum due to Morris James for professional services rendered on behalf of

the Equity Committee during for the Interim Compensation Period is $271,950.50. A chart

detailing the fees in each of the applications during the Interim Compensation Period, by

professional and by category is attached as Exhibit A. Morris James submits that the professional

services it rendered on behalf of the Equity Committee during this time were both reasonable and

necessary.

         15.   Morris James incurred $4,454.51 of expenses during the Interim Compensation

Period. A chart detailing the specific disbursements is attached hereto as Exhibit B.

         16.   The undersigned hereby attests that he has reviewed the requirements of Local

Rule 2016-1 and this Application conforms to such requirements, including that travel time was

not billed at more than half rate and copying charges were only $0.10 per page.

         17.   In accordance with the United States Trustee Large Case Fee Guidelines

(“Fee Guidelines”), Morris James has attached the Answers to Questions C.5 of the Fee

Guidelines, Customary and Comparable Compensation Disclosures and the Budget and Staffing

Plan as Exhibit C.




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         WHEREFORE, Morris James hereby requests pursuant to the procedures allowed in the

Interim Compensation Order: (i) approval of allowance and payment on an interim basis, of Morris

James’ compensation necessary and valuable professional services rendered to the Equity

Committee in the sum of $271,950.50 and reimbursement of expenses in the sum of $4,454.51 for

the period September 7, 2023 through December 31, 2023; (ii) payment of any 20% holdback that

was withheld from payment under the monthly fee application; and (iii) such other and further

relief as is just and proper.

 Dated: February 14, 2024                      MORRIS JAMES LLP

                                               /s/ Eric J. Monzo
                                               Eric J. Monzo (DE Bar No. 5214)
                                               Brya M. Keilson (DE Bar No. 4643)
                                               Jason S. Levin (DE Bar No. 6434)
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                                               Counsel to the Official Committee of Equity
                                               Security Holders




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